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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                          (Norfolk Division)


CLAUDIA T. PILLICH


                        Plaintiff,

                 V.                                            Civil Action No: 2:17-cv-00634-HCM/DEM


GOLDBELT FALCON, LLC,

                        Defendant.



                               AGREED ORDER OF DISMISSAL



          The Plaintiff, Claudia T. Pillich, and Defendant, Goldbelt Falcon, LLC, by and through

their attorneys of record, hereby stipulate as follows;

          WHEREAS, Plaintiff brought this action;

          WHEREAS, Defendant denies any liability in this action;

          WHEREAS, the parties have reached an agreed confidential settlement of this matter and

wish to dismiss this action with prejudice, each party to bear its own costs and fees as to Plaintiffs

action,

          IT IS HEREBY ORDERED THAT this action is hereby dismissed with prejudice, each

party to bear its own costs and fees.t

                 SIGNED this         1/ day of August, 2018.
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                                                   Douglas E. Miller
                                                   United States Magistrate Judge

                                                DOUGLAS E. MILLER
                                                UNITED STATES MAGISTRATE JUDGE
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WEASKFORTfflS:

PLAINTIFF, CLAUDIA T. PILLICH

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